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Attorney for Defendant




                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

                                  PORTLAND DIVISION



  UNITED STATES OF AMERICA,                                   Case No.: 3:17-CR-00321-SI

                                  Plaintiff,
                                                   PETITION TO ENTER PLEA OF
                       v.                          GUILTY, CERTIFICATE OF
                                                   COUNSEL, AND ORDER
  ANTHONY WAYNE TAVOLONI,
  JR.,

                                Defendant.

         The defendant represents to the court:

         1.      My name is Anthony Wayne Tavoloni, Jr. I am 45 years old. I have gone to

school up to and including obtaining a bachelor's degree in chemistry.

         2.      My attorney is Assistant Federal Public Defender Conor Huseby.

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         3.      My attorney and I have discussed my case fully. I have received a copy of

the Indictment. I have read the Indictment, or it has been read to me, and I have discussed

it with my attorney. My attorney has counseled and advised me concerning the nature of

each charge, any lesser-included offenses, and the possible defenses that I might have in

this case. I have been advised and understand that the elements of the charges alleged

against me to which I am pleading "GUILTY" are as follows: As to both counts, 1. On or

about August 20, 2017, in Oregon, 2. I forcibly assaulted a federal officer or employee,

and 3. While the officer or employee was engaged in the performance of his or her official

duties. I have had a full and adequate opportunity to disclose to my attorney all facts known

to me that relate to my case. I understand that the Court may ask whether I am satisfied

with the advice I have received from my attorney.

         4.      I know that if I plead "GUILTY," I will have to answer any questions that

the judge asks me about the offenses to which I am pleading guilty. I also know that if I

answer falsely, under oath, and in the presence of my attorney, my answers could be used

against me in a prosecution for perjury or false statement.

         5.      I am not under the influence of alcohol or drugs. I am not suffering from any

injury, illness or disability affecting my thinking or my ability to reason. I have not taken

any drugs or medications within the past seven (7) days.

         6.      I understand that conviction of a crime can result in consequences in addition

to imprisonment. Such consequences include deportation, or removal from the United

States, or denial of naturalization, if I am not a United States citizen; loss of eligibility to

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receive federal benefits; loss of certain civil rights (which may be temporary or permanent

depending on applicable state or federal law), such as the right to vote, to hold public office,

and to possess a firearm; and loss of the privilege to engage in certain occupations licensed

by the state or federal government.

         7.      I know that I may plead "NOT GUILTY" to any crime charged against me

and that I may persist in that plea if it has already been made. I know that if I plead "NOT

GUILTY" the Constitution guarantees me:

         The right to a speedy and public trial by jury, during which I will be presumed
                to be innocent unless and until I am proven guilty by the government
                beyond a reasonable doubt and by the unanimous vote of twelve
                Jurors;

         The right to have the assistance of an attorney at all stages of the proceedings;

         The right to use the power and process of the court to compel the production
                of evidence, including the attendance of witnesses in my favor;

         The right to see, hear, confront, and cross-examine all witnesses called to
               testify against me;

         The right to decide for myself whether to take the witness stand and testify,
                and if I decide not to take the witness stand, I understand that no
                inference of guilt may be drawn from this decision; and

         The right not to be compelled to incriminate myself.

         8.      I know that if I plead "GUILTY" there will be no trial before either a judge

or a jury, and that I will not be able to appeal from the judge's denial of any pretrial motions

I may have filed concerning matters or issues not related to the court's jurisdiction.

         9.      In this case I am pleading "GUILTY" under Rule 11 (c)(1 )(B ). My attorney

has explained the effect of my plea under Rule ll(c)(l)(B) to be as follows: The


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government and myself have reached a plea agreement in which the government promises

to recommend a certain sentence and I am free to recommend any sentence I deem to be

appropriate. The judge is not required to accept this recommendation from the government

and my attorney.

         10.      I know the maximum sentence which can be imposed upon me for Counts 3

and 4 is 8 years' imprisonment and a fine of $250,000.

         11.      I know that the judge, in addition to any other penalty, will order a special

assessment as provided by law in the amount of $100 per count of conviction.

         12.      I know that if I am ordered to pay a fine, and I willfully refuse to pay that

fine, I can be returned to court, where the amount of the unpaid balance owed on the fine

can be substantially increased by the judge and I can be imprisoned for up to one year.

         13.      My attorney has discussed with me sentencing under federal law. I know

that the judge will consider sentencing factors under 18 U.S.C. § 3553(a) in determining a

proper sentence, including; the nature and circumstances of the offense and my history and

characteristics; the need for the sentence to reflect the seriousness of the offense, promote

respect for the law, provide just punishment, afford adequate deterrence to criminal

conduct, protect the public from further crime by me, and provide me with needed

educational or vocational training, medical care, or other correctional treatment in the most

effective manner; the kinds of sentences available; the advisory United States Sentencing

Guidelines and policy statements; the need to avoid unwarranted sentencing disparities

among defendants; and, the need to provide restitution to any victims. I know that the

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judge may not impose a sentence greater than the maximum sentence referred to m

paragraph (10) above.

         14.      I know from discussion with my attorney that if I am sentenced to prison I

am not entitled to parole. I will have to serve the full sentence imposed except for any

credit for good behavior that I earn. I can earn credit for good behavior in prison at a rate

of up to 54 days for each year of imprisonment served. Credit for good behavior does not

apply to a sentence of one year or less.

         15.      I know that if I am sentenced to prison, the judge will impose a term of

supervised release to follow the prison sentence. During my supervised release term I will

be supervised by a probation officer according to terms and conditions set by the judge. In

my case, a term of supervised release can be up to three years. If I violate the conditions

of supervised release, I may be sent to prison for up to two years.

         16.      I know that in addition to or in lieu of any other penalty, the judge can order

restitution payments to any victim of any offense to which I plead guilty. I am also

informed that, for certain crimes of violence and crimes involving fraud or deceit, it is

mandatory that the judge impose restitution in the full amount of any financial loss or harm

caused by an offense. If imposed, the victim can use the order of restitution to obtain a

civil judgment lien. A restitution order can be enforced by the United States for up to

twenty (20) years from the date of my release from imprisonment, or, if I am not

imprisoned, twenty (20) years from the date of the entry of judgment. If I willfully refuse




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to pay restitution as ordered, a judge may resentence me to any sentence which could

originally have been imposed.

         17.      On any fine or restitution in an amount of $2,500 or more, I know that I will

be required to pay interest unless that fine or restitution is paid within fifteen (15) days

from the date of the entry of judgment.

         18.      Ifl am on probation, parole, or supervised release in any other state or federal

case, I know that by pleading guilty in this court my probation, parole or supervised release

may be revoked and I may be required to serve time in that case, which may be consecutive,

that is, in addition to any sentence imposed on me in this court.

         19.      If I have another case pending in any state or federal court, I know that my

Petition and Plea Agreement in this case do not, in the absence of an express and written

agreement, apply to my other case(s), and that I can be faced with consecutive sentences

of imprisonment.

         20.      My plea of "GUILTY" is based on a Plea Agreement that I have made with

the prosecutor. That Plea Agreement is attached hereto and incorporated herein. I have read

or had read to me the Plea Agreement, and I understand the Plea Agreement.

         21.      My plea of "GUILTY" is not the result of force, threat, or intimidation.

         22.      I request that the judge accept my plea of"GUIL TY" to the following counts:

Counts 3 and 4.

         23.      I know that the judge must be satisfied that a crime occurred and that I

committed that crime before my plea of "GUILTY" can be accepted. With respect to the

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charge(s) to which I am pleading guilty, I represent that I did the following acts and that

the following facts are true:

         On August 20, 2017, I went to the Portland Airport to take a flight to Florida. While

         in line waiting to pass through security, a TSA agent asked me for my identification

         and boarding pass. For reasons I am not aware of, I became agitated. At one point,

         as the agent was pointing for me to go back in line, I grabbed her arm and briefly

         wrestled with her. I was immediately stopped by passengers and other TSA agents.

         While TSA agents were speaking to me I struck/pushed another TSA agent in the

         face using my hand.


         24.      I offer my plea of "GUILTY" freely and voluntarily and of my own accord

and with a full understanding of the allegations set forth in the Indictment or Information,

and with a full understanding of the statements set forth in this Petition and in the

Certificate of my attorney that is attached to this Petition.

         SIGNED by me in the presence of my attorney, after reading (or having had read to

me) all of the pages and paragraphs of this Petition on this    I U~     day of May, 2018.



                                             ~
                                            AlltOllYWayneTaVOlOili,Jr.
                                            Defendant




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                               CERTIFICATE OF COUNSEL

         The undersigned, as attorney for defendant Anthony Wayne Tavoloni, Jr., hereby

certifies:

         1.      I have fully explained to the defendant the allegations contained in the

Indictment or Information in this case, any lesser-included offenses, and the possible

defenses which may apply in this case.

         2.      I have personally examined the attached Petition to Enter Plea of Guilty and

Order Entering Plea, explained all its provisions to the defendant, and discussed fully with

the defendant all matters described and referred to in the Petition.

         3.      I have explained to the defendant the maximum penalty and other

consequences of entering a plea of guilty described in paragraphs (6)-(20) of the Petition,

and I have also explained to the defendant the applicable law regarding federal sentencing.

         4.      I recommend that the Court accept the defendant's plea of"GUILTY."

         SIGNED by me in the presence of the above-named defendant, and after full

discussion with the defendant of the contents of the Petition to Enter Plea of Guilty, and

anyPleaAgreement,onthis         /b~ day&::~
                                           ~
                                             Attorney for Defendant




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                                  ORDER ENTERING PLEA

         I find that the defendant's plea of GUILTY has been made freely and voluntarily

and not out of ignorance, fear, inadvertence, or coercion. I further find the defendant has

admitted facts that prove each of the necessary elements of the crimes to which the

defendant has pled guilty.

         IT IS THEREFORE ORDERED that the defendant's plea of GUILTY be accepted

and entered as requested in this Petition and as recommended in the Certificate of

defendant's attorney.       ~Jr

         DATED this   i/,     of May, 2018, in open court.


                                            The Honora e Michael H. Simon
                                            United States District Court Judge




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